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Michael Foster

From:                             Ari Rodopoulos <ari@woodlaw.com>
Sent:                             Tuesday, April 14, 2015 3:22 PM
To:                               Michael Foster
Cc:                               Noah Wood; Tammy Reed; Kim Murray; Mark Olthoff
Subject:                          Re: Alexander et al. v. BF Labs - Discovery/ESI issues


Michael:

My position and reasoning is simple: Plaintiffs never agreed to receive (or pay for) a hard drive that had
been filtered using BFL’s proposed filters. You knew this, yet you used BFL’s proposed filters anyway—
and without letting me know before having the hard drive made and delivered.

That’s the equivalent of Plaintiffs now saying that all documents on the hard drive BFL produced must be
individually reviewed and marked as confidential (at BFL’s own expense) if BFL wishes to keep them
confidential, even though BFL never agreed to produce the hard drive under those terms.

I’m happy to discuss further if you wish.

Thank you,

Ari N. Rodopoulos
Wood Law Firm, LLC
1100 Main Street, Suite 1800
Kansas City, MO 64105-5171
Tel: (816)256-3582
Fax: (816)337-4243
ari@woodlaw.com

       On Apr 14, 2015, at 2:00 PM, Michael Foster <MFoster@Polsinelli.com> wrote:

       Ari,

       We do not understand your position and you have not offered any reasoning. We are producing all
       requested documents except for those subject to attorney-client privilege and, for the latter, we
       have and will be providing a privilege log. We intend to produce any non-privileged documents to
       you after concluding our privilege review to the extent any non-privileged documents were
       inadvertently picked up by the search terms. The process is necessary because, for example, if there
       were emails shared between BF Labs’ employees after a Polsinelli email was sent, those Polsinelli
       emails would be in the body but not picked up in a to:, from:, cc:, field. We expect you do not
       disagree that those emails in the email chain are privileged, and our further review will allow us to
       consider if the communication shared internally may or may not be. If not, it will be produced,
       though redacted for privilege and logged; if so, the entire string will be logged. We are more than
       happy to discuss with you your views if you care to explain your position as to why you are entitled
       to see all those privileged emails in light of the fact you are getting a privilege log. As you know, we
       also have a clawback agreement because of the way we are producing the ESI on the chance any
       privileged documents are inadvertently produced.

       Thanks, Michael

       From: Ari Rodopoulos [mailto:ari@woodlaw.com]
       Sent: Monday, April 13, 2015 4:33 PM
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To: Michael Foster
Cc: Noah Wood; Tammy Reed; Kim Murray; Mark Olthoff
Subject: Re: Alexander et al. v. BF Labs - Discovery/ESI issues

Michael:

Its unfortunate you had Modus spend the time and effort filtering data that way because, as
we discussed multiple times, Plaintiffs never agreed to the privilege search terms proposed by
BFL in Jim’s March 17 letter. In fact, below is a quoted section from my March 30 email to
you:

      "Plaintiffs agree that privilege filters may be applied before producing the ESI in the
      Modus database. However, Plaintiffs do not agree to the privilege search terms BFL
      has proposed. Plaintiffs believe the only appropriate privilege search terms are emails
      that have (1) a to/from field with a Polsinelli email address (or other retained law firm
      email address) and (2) a to/from field with a Butterfly Labs email address. I
      understand you will conduct a review of the communications that are filtered out of the
      Modus database and produce to Plaintiffs any filtered communications you believe are
      not privileged. Nevertheless, Plaintiffs require that any remaining documents withheld
      on the basis of privilege be identified in a privilege log.”

Please have the Modus data filtered for privilege as set forth in my March 30 email and have
another hard drive made. Plaintiffs will pay for such a hard drive pursuant to my March 30
email. Until then, the data preserved by Modus remains an issue in the motion to compel.

Thank you,

Ari N. Rodopoulos
Wood Law Firm, LLC
1100 Main Street, Suite 1800
Kansas City, MO 64105-5171
Tel: (816)256-3582
Fax: (816)337-4243
ari@woodlaw.com

        On Apr 13, 2015, at 3:59 PM, Michael Foster <MFoster@Polsinelli.com>
        wrote:

        Ari,

        Yes – the search terms used were listed on exhibit A that was attached to Jim’s
        March 17, 2015 email. We are in the process of creating a privilege log now and will
        produce all non-privileged documents once we finalize that review. Thanks. Michael

        From: Ari Rodopoulos [mailto:ari@woodlaw.com]
        Sent: Monday, April 13, 2015 2:44 PM
        To: Michael Foster
        Cc: Noah Wood; Tammy Reed; Kim Murray; Mark Olthoff
        Subject: Re: Alexander et al. v. BF Labs - Discovery/ESI issues

        Michael:

        I understand you have made arrangements with Tammy to deliver the hard
        drive today. Thank you.
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Also, could you please send us the search criteria that Modus used to remove
privileged documents from the data before the data was copied to the hard
drive?




On Apr 13, 2015, at 11:44 AM, Michael Foster <MFoster@Polsinelli.com>
wrote:

       Ari,

       We have the hard drive ready. We plan on hand delivering it to your
       office but want to make sure someone will be there to receive the
       hard drive when we do. Please let us know when would be a good
       time for delivery. You are also welcome to pick up the hard drive
       here at our office if you are near the plaza. Thanks, Michael

       From: Ari Rodopoulos [mailto:ari@woodlaw.com]
       Sent: Monday, March 30, 2015 12:24 PM
       To: Michael Foster
       Cc: Noah Wood; Tammy Reed
       Subject: Re: Alexander et al. v. BF Labs - Discovery/ESI issues

       Michael:

       Just to keep it clear, the agreement negotiated by the parties is
       limited to the ESI held by Modus and does not apply to any
       other ESI, tangible documents, or other discoverable
       material. This agreement does not preclude Plaintiffs from
       requesting the production of additional ESI (i.e., ESI not
       contained in the Modus database), does not excuse BFL’s
       failure to preserve ESI (if and where applicable), and does not
       preclude Plaintiffs from seeking fees for having to draft and file
       a motion to compel.

       Plaintiffs will pay for a hard drive containing a copy of the data
       held by Modus so long as the cost is $2500 or less, which was
       the amount I believe you said it would cost. If the amount is
       going to be over $2500, please contact me to discuss before
       having Modus incur any expenses. Also, this agreement is
       conditioned on the data held by Modus being produced in a
       manner we can access and read without having to pay for
       and/or install any proprietary software of Modus. We
       understand we might have to purchase software in order to
       access and read the data for ShipStation, Magento, Quickbooks,
       and Fishbowl. This agreement is also conditioned on BFL
       providing the necessary logins, passwords, and/or security keys
       if the underlying data for these applications is encrypted or
       otherwise secured.



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      Plaintiffs agree that all ESI in the Modus database may be
      temporarily produced as attorney’s eyes and/or confidential in
      order to relieve BFL of the burden of having to review and
      stamp every document as attorney’s eyes only or
      confidential. We are not, however, agreeing that all ESI in the
      Modus database may permanently remain marked as attorney’s
      eyes only and/or confidential. Once we obtain the ESI in the
      Modus database and have a chance to review the data, we will
      need to revisit whether attorney’s eyes only and/or confidential
      status remains appropriate for all documents in the Modus
      database.

      Plaintiffs agree that privilege filters may be applied before
      producing the ESI in the Modus database. However, Plaintiffs
      do not agree to the privilege search terms BFL has
      proposed. Plaintiffs believe the only appropriate privilege
      search terms are emails that have (1) a to/from field with a
      Polsinelli email address (or other retained law firm email
      address) and (2) a to/from field with a Butterfly Labs email
      address. I understand you will conduct a review of the
      communications that are filtered out of the Modus database and
      produce to Plaintiffs any filtered communications you believe
      are not privileged. Nevertheless, Plaintiffs require that any
      remaining documents withheld on the basis of privilege be
      identified in a privilege log.

      Plaintiffs agree that any privileged documents inadvertently
      produced in the Modus database remain privileged subject to
      section 18 of the protective order.

      Regarding documents (tangible or ESI) BFL intends to use at
      trial or knows to be accessible and/or responsive, Plaintiffs’
      position is BFL had an obligation to search for and produce
      such documents regardless of the potential use or nonuse of ESI
      search terms as specifically set forth in the ESI
      protocol. Although we certainly look forward to BFL
      producing such documents, we are not agreeing that such
      production excuses BFL’s failure to search for and produce
      such documents months ago and we reserve our right to request
      BFL be excluded from using such documents in any motion,
      hearing, or trial.

      Finally, I understand BFL will be providing second
      supplemental interrogatory answers. Once I receive these, I’ll
      gladly discuss which issues will remain pending in the motion
      to compel.

      Thank you,

      Ari N. Rodopoulos
      Wood Law Firm, LLC
      1100 Main Street, Suite 1800
      Kansas City, MO 64105-5171
      Tel: (816)256-3582

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      Fax: (816)337-4243
      ari@woodlaw.com

            On Mar 28, 2015, at 8:50 PM, Michael Foster
            <MFoster@Polsinelli.com> wrote:

            Ari,

            Thanks for talking to me yesterday. We are looking
            into our client’s responses to the interrogatories in
            light of our discussion. Our plan is to supplement
            the responses where possible. Once you receive
            these, which we expect to do early next week,
            hopefully we will be able to discuss whether there
            remains any issues to be taken to Judge O’Hara.

            You also wanted to me to email you about ESI and
            the agreement we came to yesterday. It is my
            understanding that you are willing to pay for the
            hard drive and the approximately four hours it takes
            Modus to make BF Labs’ native files available to
            you. You agreed that these documents would be
            treated as marked “attorneys eyes only” pursuant
            to the protective order that the parties entered into
            in 2014.

            As I told you on the phone, we will also be filtering
            out emails that were sent to or from BF Labs’
            attorneys to prevent you from receiving privileged
            emails when making this type of production. As I
            told you on the phone, BF Labs has not agreed to do
            a privilege log by filtering out emails to or from its
            attorneys this way. I did, however, tell you that we
            were willing to look at the amount of emails that
            were captured by this approach, review those to
            confirm they are privileged, and send to you all
            nonprivileged emails. As I understand it, you are
            okay with this approach as you understand we are
            only producing ESI to the Plaintiffs this way because
            of the significant expense involved in reviewing and
            marking documents privileged, confidential,
            relevant, etc.

            It is also likely that you will still be receiving
            privileged documents when we make this type of
            production to you. It is my idea to treat those
            privileged documents like we had in section 18 of
            the protective order. Assuming we are in agreement
            regarding this approach, BF Labs should be able to
            get Plaintiffs this hard drive soon as we had Modus
            start working on this project yesterday afternoon so
            we could get the documents in your hands quickly.

            Toward the end of our call yesterday, you
            mentioned the ESI protocol and said you still

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               wanted us to produce relevant documents that are
               easily accessible that either involve the Plaintiffs or
               involve BF Labs’ initial disclosures and begin
               producing those documents to you. We agree to do
               so and plan to begin producing bates labeled
               documents to the Plaintiffs this next week. This will
               be a rolling production.

               Please let me know if you have any questions or
               disagree with anything I stated in this email. Thank
               you.

               MICHAEL S. FOSTER | Polsinelli | ASSOCIATE
               900 W. 48th Place, Suite 900, Kansas City, MO 64112-
               1895 | 816.395.0650 direct




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